           Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 1 of 7




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1740V
                                          UNPUBLISHED


    KERRY GRANT,                                                Chief Special Master Corcoran

                         Petitioner,
    v.                                                          Filed: May 17, 2022

    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                             Stipulation on Damages; Influenza
                                                                (Flu); Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA).


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION1

       On December 2, 2020, Kerry Grant (“Petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et
seq.2 (the “Vaccine Act”). On November 18, 2019, Petitioner received an influenza (“flu”)
vaccine, which vaccine is listed on the Vaccine Injury Table (the “Table”), 42 C.F.R. §
100.3(a). Petitioner alleges that he sustained a shoulder injury related to vaccine
administration (“SIRVA”), as defined in the Table; he further alleges that the flu vaccine
caused his alleged shoulder injury; and that he suffered the residual effects of his
alleged injury for more than six months.

        Respondent denies that the flu vaccine caused Petitioner to suffer a left shoulder
injury or any other injury or his current condition, and denies that Petitioner sustained a
SIRVA Table injury.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 2 of 7




       Nevertheless, on May 17, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

      A lump sum of $40,000.00 in the form of a check payable to Petitioner.
Stipulation at ¶ 8. This amount represents compensation for all items of damages that
would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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         Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 3 of 7




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                               )
KERRY GRANT,                                   )
                                               )
               Petitioner,                     )
                                               )          No. 20-1740V
       v.                                      )          Chief Special Master Corcoran
                                               )          ECF
SECRETARY OF HEALTH AND                        )
HUMAN SERVICES,                                )
                                               )
               Respondent.                     )


                                         STIPULATION

       The parties hereby stipuJate to the following matters:

        1. Kerry Grant, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the ''Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner's receipt of an

influenz.a ("flu") vaccine, which is a vaccine contained in the Vaccine Irtjury Table (the "Table"),

42 C.F.R. § 100.3 (a).

       2. Petitioner received the flu vaccine on November 18, 2019.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that he sustained a Shoulder Injury Related to Vaccine

Administration ("SIRVA") as defmed in the Table; he further alleges that the flu vaccine caused

his alleged shoulder injury, and that he suffered the residual effects of his alleged injury for more

than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.
           Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 4 of 7




          6. Respondent denies that the flu vaccine caused petitioner to suffer a left shoulder injury

or any other injury or his current condition, and denies that petitioner sustained a SIRVA Table

injury.

          7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation descnbed in paragraph 8 of this Stipulation.

          8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after _petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

          A lump sum of $40,000.00 in the form of a check payable to petitioner. This
          amount represents compensation for all damages that would be available under 42
          U.S.C. § 300aa-15(a).

          9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

          10. Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



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         Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 5 of 7




        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments descnbed in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 18, 2019,

as alleged by petitioner in a petition for vaccine compensation fded on or about December 2,

2020, in the United States Court of Federal Claims as petition No. 20-1740V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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         Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 6 of 7




        15. If the special master fails to issue a decision in complete conformity with the tenns

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the tenns of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award descnbed in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused or significantly aggravated

petitioner's alleged shoulder injury, or any other injury or his current condition.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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        Case 1:20-vv-01740-UNJ Document 26 Filed 06/24/22 Page 7 of 7




Respectfully submitted,

PETITIONER:




ATTORNEY OF RECORD FOR                                          AUTHORIZED REPRESENTATIVE
PETITIONER:                                                     OF THE ATTORNEY GENERAL:




MAXIMILLIAN J. MULLER
                                                                ~ ~\!c.J~
                                                                HEATHER L. PEARLMAN
Counsel for Petitioner                                          Deputy Director
Muller Brazil                                                   Torts Branch, Civil Division
715 Twining Road, Suite 208                                     U.S. Department of Justice
Dresher, PA 19025                                               P.O. Box 146
                                                                Benjamin Franklin Station
                                                                Washington, DC 20044-0146



AUTHORIZED REPRESENTATIVE                                       ATTORNEYOFRECORDFO
OF THE SECRETARY OF HEALTH                                      RESPONDENT:
AND HUMAN SERVICES:
George R. Grimes -
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CDR GEORGE REED GRIMES, MD, MPH                                 KIMBERLY S. DAVEY
Director, Division of Injury                                    Trial Attorney
 Compensation Programs                                          Torts Branch, Civil Division
Health Systems Bureau                                           U.S. Department of Justice
Heahh Resources and Services                                    P.O.Box 146
 Administration                                                 Benjamin Franklin Station
U.S. Department of Health                                       Washington, DC 20044-0146
 and Human Services                                             (202) 307-1815
5600 Fishers Lane, 08N146B                                      kimberly.davey@usdoj.gov
Rockville, MD 20857


Dated: O 5   J1-::y/urz_,,'2__


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